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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                 Plaintiffs,                                 4:13CR3115
     vs.
                                                  MEMORANDUM AND ORDER
CHARLES J. BAASCH,
                 Defendants.



     IT IS ORDERED:

     1)    The motion of attorney Thomas R. Lamb to withdraw as counsel of record
           for defendant Charles J. Baasch, (filing no.107), is granted.

     2)    The clerk shall delete Thomas R. Lamb from any future ECF notifications
           herein.

     March 12, 2014.


                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
